
Lyons, Judge,
delivered the resolution of the court to the following effect: That, as no exception to the setting aside the order of reference was taken at the time, nor any misconduct in the court shewn, there was no reason for impeaching the judgment of the county court upon that objection. That there was no ground to find fault with the county court for refusing to receive the plea and send the cause back to the rules; for, if allowable in any case, the circumstances leading to it, ought to be very strong: and, in the present instance, there was not the slightest reason for it, as the defendant was allowed to plead the general issue, and might have given the special matter in evidence under it: and if the court had refused, upon the trial of the issue, to have received the testimony, he might have filed an exception to the opinion. That the district court ought not to have granted a new trial upon the affidavits taken after the appeal was depending in that court. And, consequently, that the judgment of the district court was to be reversed, and that of the county court affirmed.
